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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF VIRGINIA

                         Alexandria Division


______________________________
UNITED STATES OF AMERICA,      )
                               )
V.                             )          Criminal No. 1:04cr225
                               )
SHANE BRIAN TAYLOR,            )
                               )
               Defendant.      )
______________________________)


                                  ORDER

     This matter comes before the Court on the Defendant’s motion

for reduction of sentence.     It appearing to the Court that the

sentence previously imposed was correct for the reasons stated,

it is hereby

     ORDERED that the Defendant’s motion is DENIED.




                                            /s/
                                  ____________________________
                                  CLAUDE M. HILTON
                                  UNITED STATES DISTRICT JUDGE




Alexandria, Virginia
July 5, 2005
